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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHARLES JOHNSON,                                      )
                                                      )       Case No. 16-7032
       Plaintiff,                                     )
                                                      )
v.                                                    )       COMPLAINT
                                                      )
COMENITY LLC,                                         )
                                                      )       JURY DEMANDED
       Defendant.                                     )


       Now comes the Plaintiff, CHARLES JOHNSON, by and through his attorneys, and for his

Complaint against the Defendant, COMENITY LLC, Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for damages for violations of the Telephone Consumer Protection

Act (“TCPA”), 47 U.S.C. § 227, et seq.

                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

       3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events and omissions giving rise to this claim occurred in this District.

                                             PARTIES

       4.      Plaintiff is an individual who was at all relevant times residing in Chicago, Illinois.

       5.      On information and belief, Defendant is a limited liability company of the State of

Delaware, which is not licensed to do business in Illinois, and which has its principal place of

business in Columbus, Ohio.

       6.      Plaintiff is a “person” as defined in 47 U.S.C. § 153(39).

       7.      Defendant is a “person” as defined in 47 U.S.C. § 153(39).
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                                            COUNT I

       8.      Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 7 above as if reiterated herein.

       9.      Sometime prior to May 11, 2016, Defendant began placing a high volume of

automated telephone calls to Plaintiff’s cellular telephone.

       10.     During or about May of 2016, upon answering one of Defendant’s telephone calls,

Plaintiff spoke with an employee, agent and/or representative of Defendant and requested of said

individual that Defendant stop placing telephone calls to Plaintiff’s cellular telephone.

       12.     Despite Plaintiff’s request that Defendant cease placing telephone calls to his

cellular telephone, Defendant placed at least 92 telephone calls to Plaintiff’s cellular telephone

between the dates of May 11, 2016 and July 5, 2016.

       13.     As a result of Defendant’s actions as outlined above, Plaintiff has suffered and

continues to suffer stress, aggravation, emotional distress and mental anguish.

       14.     On information and belief, Defendant placed the telephone calls described above

to Plaintiff using an “automatic telephone dialing system,” as defined in 47 U.S.C. § 227(a)(1),

and/or an “artificial or prerecorded voice” message, as described in 47 U.S.C. § 227(b)(1)(A).

       15.     On information and belief, the purpose of these telephone calls was the attempted

collection of an alleged debt.

       16.      On information and belief, Defendant routinely uses an automatic telephone

dialing systems and/or artificial and/or prerecorded voice messages in the collection of debts in

the ordinary course of its business.

       17.     Plaintiff did not give Defendant his express consent, invitation or permission to

contact him using an automatic telephone dialing system and/or an artificial and/or prerecorded



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voice message. In the alternative, any prior express consent, invitation or permission which

Plaintiff may have given Defendant to contact him in this manner was terminated and revoked.

       18.     Defendant’s telephone calls to Plaintiff using an automatic telephone dialing

system and/or an artificial and/or prerecorded voice message were not made for emergency

purposes.

       19.     Defendant’s telephone calls to Plaintiff utilizing an automatic telephone dialing

system and/or an artificial and/or prerecorded voice message, for non-emergency purposes, and in

the absence of Plaintiff’s express consent, invitation or permission, violated 47 U.S.C. § 227(b)(1).

       20.     The foregoing acts and omissions of Defendant constitutes numerous and multiple

negligent violations of the TCPA including, but not limited to, each of the above-cited provisions

of 47 U.S.C. § 227, et seq.

       21.     As a result of Defendant’s negligent violations of the TCPA, 47 U.S.C. § 227, et

seq., Plaintiff is entitled to an award of actual monetary loss, plus $500.00 for each and every such

violation, pursuant to 47 U.S.C. § 227(b)(3).

       WHEREFORE, Plaintiff prays for the following relief:

               a.      Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of any negligent violations of the TCPA by

                       Defendant;

               b.      Judgment against Defendant for statutory damages of $500.00 for each and

                       every negligent violation of the TCPA by Defendant;

               c.      Judgment against Defendants for Plaintiff’s reasonable attorneys’ fees,

                       witness fees, court costs and other litigation costs; and

               d.      Any other relief deemed appropriate by this Honorable Court.



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                                             COUNT II

        22.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 7 and 9 through 19 above as if reiterated herein.

        23.     The foregoing acts and omissions of Defendant constitutes numerous and multiple

knowing and/or willful violations of the TCPA including, but not limited to, each of the above-

cited provisions of 47 U.S.C. § 227, et seq.

        24.     As a result of Defendant’s knowing and/or willful violations of the TCPA, 47

U.S.C. § 227, et seq., Plaintiff is entitled to an award of actual monetary loss, plus $1,500.00 for

each and every such violation, pursuant to 47 U.S.C. § 227(b)(3).

        WHEREFORE, Plaintiff prays for the following relief:

                a.      Judgment against Defendant for Plaintiff’s actual damages suffered as a

                        direct and proximate result of any knowing and/or willful violations of the

                        TCPA by Defendant;

                b.      Judgment against Defendant for treble statutory damages of $1,500.00 for

                        each and every knowing and/or willful violation of the TCPA by Defendant;

                c.      Judgment against Defendants for Plaintiff’s reasonable attorneys’ fees,

                        witness fees, court costs and other litigation costs; and

                d.      Any other relief deemed appropriate by this Honorable Court.



                                         JURY DEMAND

        Plaintiff demands a trial by jury on all issues in this action, except for any issues relating

to the amount of attorneys’ fees and litigation costs to be awarded should Plaintiff prevail on any

of his claims in this action.



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                                        RESPECTFULLY SUBMITTED,

                                        CHARLES JOHNSON

                                        By:   /s/ David B. Levin
                                              Attorney for Plaintiff



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